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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE


BIOGEN INTERNATIONAL GMBH                             )
and BIOGEN MA INC.,                                   )
                                                      )    C.A. No. 17-823-MN
                         Plaintiffs,                  )    (CONSOLIDATED)
                                                      )
       v.                                             )    C.A. No. 17-824-MN
                                                      )
AMNEAL PHARMACEUTICALS LLC, et al.,                   )
                                                      )
                         Defendants.                  )
                                                      )

                        STIPULATION AND ORDER OF DISMISSAL
            (Biogen International GmbH, et al. v. Aurobindo Pharma U.S.A., Inc., et al.)

       Pursuant to Rule 41(a)(1)(ii) and (c), Fed. R. Civ. P., Biogen International GmbH and

Biogen MA Inc. (individually and collectively “Plaintiffs”) and Aurobindo Pharma U.S.A., Inc.

and Aurobindo Pharma Limited, parent of now dissolved subsidiary and Defendant Aurobindo

Pharma USA LLC (individually and collectively “Aurobindo”), having settled their disputes in

Civil Action No. 18-824-MN (the “Aurobindo Action”) by a settlement agreement (the

“Settlement Agreement”), stipulate and agree, through their respective counsel and subject to the

Court’s approval, that all claims, counterclaims and defenses in the Aurobindo Action are

dismissed as follows:

       1. Aurobindo stipulates to the validity and enforceability of U.S. Patent No.

            8,399,514.

       2. Aurobindo stipulates that U.S. Patent No. 8,399,514 would be infringed by any

            manufacture, sale, offer for sale, use or importation into the United States of the

            generic product that is the subject of Aurobindo’s Abbreviated New Drug

            Application (“ANDA”) No. 210385.
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       3. All claims and defenses of Plaintiffs in the Aurobindo Action are dismissed

           without prejudice.

       4. All counterclaims and defenses of Aurobindo Action are dismissed with

           prejudice.

       The Plaintiffs and Aurobindo waive any right to appeal or otherwise move for relief from

this Stipulation and Order of Dismissal.

       The Plaintiffs and Aurobindo stipulate that this Court has jurisdiction over them for the

purposes of enforcing this Stipulation and Order of Dismissal and the terms of the Settlement

Agreement.

                                            ORDER
       Accordingly, pursuant to the above Stipulation, and upon the consent and request of

Plaintiffs and Aurobindo,

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

       1. All claims and defenses of Plaintiffs in the Aurobindo Action are dismissed

           without prejudice.

       2. All counterclaims and defenses of Aurobindo in the Aurobindo Action are

           dismissed with prejudice.

       3. The Plaintiffs and Aurobindo have waived any right to appeal or otherwise

           move for relief from this Stipulation and Order of Dismissal.

       4. This Court has jurisdiction over the Plaintiffs and Aurobindo for the purposes

           of enforcing this Stipulation and Order of Dismissal and the terms of the

           Settlement Agreement.



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      5. Each party will bear its own attorneys’ fees and costs.


ASHBY & GEDDES                                    CONNOLLY GALLAGHER LLP

/s/ Steven J. Balick                              /s/ Arthur G. Connolly, III
                                                  ___________________________________
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amayo@ashby-geddes.com                            Attorneys for Aurobindo Pharma U.S.A., Inc.
                                                  and Aurobindo Pharma USA LLC
Attorneys for Plaintiffs


      SO ORDERED, this WK         day of November, 2019.



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                                      H +RQRRUDEOH0DU\HOOHQ1RUHLND
                                    United
                                         dSStates
                                            tates District Judge




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